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11                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
12
                                            ) Case No.
13   JOSEPH MENICHIELLO, individually )
14   and on behalf of all others similarly  ) CLASS ACTION
     situated,                              )
15                                          ) COMPLAINT FOR VIOLATIONS
16   Plaintiff,                             ) OF:
                                            )
17                                               1. NEGLIGENT VIOLATIONS
            vs.                             )
                                                       OF THE TELEPHONE
18                                          )          CONSUMER PROTECTION
19   HARDWICK INVESTORS GROUP, )                       ACT [47 U.S.C. §227(b)]
     LLC d/b/a QUICK FI CAPITAL, and )           2.    WILLFUL VIOLATIONS
20                                                     OF THE TELEPHONE
     DOES 1 through 10, inclusive, and each )          CONSUMER PROTECTION
21   of them,                               )          ACT [47 U.S.C. §227(b)]
                                            )    3.    NEGLIGENT VIOLATIONS
22                                                     OF THE TELEPHONE
     Defendant.                             )          CONSUMER PROTECTION
23                                          )          ACT [47 U.S.C. §227(c)]
                                            )    4.    WILLFUL VIOLATIONS
24                                                     OF THE TELEPHONE
                                            )          CONSUMER PROTECTION
25                                          )          ACT [47 U.S.C. §227(c)]
26                                          )
                                            )
27                                          ) DEMAND FOR JURY TRIAL
28



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 1         Plaintiff JOSEPH MENICHIELLO (“Plaintiff”), individually and on behalf
 2   of all others similarly situated, alleges the following upon information and belief
 3   based upon personal knowledge:
 4                               NATURE OF THE CASE
 5         1.      Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of HARDWICK INVESTORS GROUP,
 8   LLC d/b/a QUICK FI CAPITAL (“Defendant”), in negligently, knowingly, and/or
 9   willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the
10   Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11   regulations, specifically the National Do-Not-Call provisions, thereby invading
12   Plaintiff’s privacy.
13                              JURISDICTION & VENUE
14         2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15   a resident of California, seeks relief on behalf of a Class, which will result in at
16   least one class member belonging to a different state than that of Defendant, a New
17   York company. Plaintiff also seeks up to $1,500.00 in damages for each call in
18   violation of the TCPA, which, when aggregated among a proposed class in the
19   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20   Therefore, both diversity jurisdiction and the damages threshold under the Class
21   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22         3.      Venue is proper in the United States District Court for the Central
23   District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
24   business within the State of California and Plaintiff resides within Orange County.
25                                        PARTIES
26         4.      Plaintiff, JOSEPH MENICHIELLO (“Plaintiff”), is a natural person
27   residing in Huntington Beach, California and is a “person” as defined by 47 U.S.C.
28   § 153 (39).


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 1         5.     Defendant, HARDWICK INVESTORS GROUP, LLC d/b/a QUICK
 2   FI CAPITAL (“Defendant”) is a business financing company, and is a “person” as
 3   defined by 47 U.S.C. § 153 (39).
 4         6.     The above named Defendant, and its subsidiaries and agents, are
 5   collectively referred to as “Defendants.” The true names and capacities of the
 6   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 7   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 8   names. Each of the Defendants designated herein as a DOE is legally responsible
 9   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
10   Complaint to reflect the true names and capacities of the DOE Defendants when
11   such identities become known.
12         7.     Plaintiff is informed and believes that at all relevant times, each and
13   every Defendant was acting as an agent and/or employee of each of the other
14   Defendants and was acting within the course and scope of said agency and/or
15   employment with the full knowledge and consent of each of the other Defendants.
16   Plaintiff is informed and believes that each of the acts and/or omissions complained
17   of herein was made known to, and ratified by, each of the other Defendants.
18                              FACTUAL ALLEGATIONS
19         8.     Beginning in or around October 2017, Defendant contacted Plaintiff
20   on Plaintiff’s cellular telephone number ending in -7270, in an attempt to solicit
21   Plaintiff to purchase Defendant’s services.
22         9.     Defendant used an “automatic telephone dialing system” as defined
23   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
24         10.    Defendant contacted or attempted to contact Plaintiff from telephone
25   number (714) 869-2758 confirmed to be Defendant’s number.
26         11.    Defendant’s calls constituted calls that were not for emergency
27   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
28         12.    During all relevant times, Defendant did not possess Plaintiff’s “prior


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 1   express consent” to receive calls using an automatic telephone dialing system or an
 2   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 3   227(b)(1)(A).
 4         13.    Further, Plaintiff’s cellular telephone number ending in -7270 was
 5   added to the National Do-Not-Call Registry on or about February 22, 2007.
 6         14.    Defendant placed multiple calls soliciting its business to Plaintiff on
 7   his cellular telephone ending in -7270 beginning in or around October 2017, and
 8   continuing through July 2018.
 9         15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
10   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
11         16.    Plaintiff received numerous solicitation calls from Defendant within a
12   12-month period.
13         17.    Defendant continued to call Plaintiff in an attempt to solicit its
14   services and in violation of the National Do-Not-Call provisions of the TCPA.
15         18.    Upon information and belief, and based on Plaintiff’s experiences of
16   being called by Defendant after being on the National Do-Not-Call list for several
17   years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
18   establish and implement reasonable practices and procedures to effectively prevent
19   telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
20   227(c)(5).
21                                CLASS ALLEGATIONS
22         19.    Plaintiff brings this action individually and on behalf of all others
23   similarly situated, as a member the two proposed classes (hereafter, jointly, “The
24   Classes”).
25         20.    The class concerning the ATDS claim for no prior express consent
26   (hereafter “The ATDS Class”) is defined as follows:
27
                  All persons within the United States who received any
28                solicitation/telemarketing  telephone    calls   from


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 1                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
 2                system or an artificial or prerecorded voice and such
 3                person had not previously consented to receiving such
                  calls within the four years prior to the filing of this
 4
                  Complaint
 5
 6         21.    The class concerning the National Do-Not-Call violation (hereafter
 7   “The DNC Class”) is defined as follows:
 8
                  All persons within the United States registered on the
 9                National Do-Not-Call Registry for at least 30 days, who
10                had not granted Defendant prior express consent nor had
                  a prior established business relationship, who received
11                more than one call made by or on behalf of Defendant
12                that promoted Defendant’s products or services, within
                  any twelve-month period, within four years prior to the
13
                  filing of the complaint.
14
15         22.    Plaintiff represents, and is a member of, The ATDS Class, consisting
16   of all persons within the United States who received any collection telephone calls
17   from Defendant to said person’s cellular telephone made through the use of any
18   automatic telephone dialing system or an artificial or prerecorded voice and such
19   person had not previously not provided their cellular telephone number to
20   Defendant within the four years prior to the filing of this Complaint.
21         23.    Plaintiff represents, and is a member of, The DNC Class, consisting
22   of all persons within the United States registered on the National Do-Not-Call
23   Registry for at least 30 days, who had not granted Defendant prior express consent
24   nor had a prior established business relationship, who received more than one call
25   made by or on behalf of Defendant that promoted Defendant’s products or services,
26   within any twelve-month period, within four years prior to the filing of the
27   complaint.
28         24.    Defendant, its employees and agents are excluded from The Classes.


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 1   Plaintiff does not know the number of members in The Classes, but believes the
 2   Classes members number in the thousands, if not more. Thus, this matter should
 3   be certified as a Class Action to assist in the expeditious litigation of the matter.
 4         25.    The Classes are so numerous that the individual joinder of all of its
 5   members is impractical. While the exact number and identities of The Classes
 6   members are unknown to Plaintiff at this time and can only be ascertained through
 7   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 8   The Classes includes thousands of members. Plaintiff alleges that The Classes
 9   members may be ascertained by the records maintained by Defendant.
10         26.    Plaintiff and members of The ATDS Class were harmed by the acts of
11   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
12   and ATDS Class members via their cellular telephones thereby causing Plaintiff
13   and ATDS Class members to incur certain charges or reduced telephone time for
14   which Plaintiff and ATDS Class members had previously paid by having to retrieve
15   or administer messages left by Defendant during those illegal calls, and invading
16   the privacy of said Plaintiff and ATDS Class members.
17         27.    Common questions of fact and law exist as to all members of The
18   ATDS Class which predominate over any questions affecting only individual
19   members of The ATDS Class. These common legal and factual questions, which
20   do not vary between ATDS Class members, and which may be determined without
21   reference to the individual circumstances of any ATDS Class members, include,
22   but are not limited to, the following:
23                a.     Whether, within the four years prior to the filing of this
24                       Complaint, Defendant made any telemarketing/solicitation call
25                       (other than a call made for emergency purposes or made with
26                       the prior express consent of the called party) to a ATDS Class
27                       member using any automatic telephone dialing system or any
28                       artificial or prerecorded voice to any telephone number


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 1                       assigned to a cellular telephone service;
 2                b.     Whether Plaintiff and the ATDS Class members were damaged
 3                       thereby, and the extent of damages for such violation; and
 4                c.     Whether Defendant should be enjoined from engaging in such
 5                       conduct in the future.
 6         28.    As a person that received numerous telemarketing/solicitation calls
 7   from Defendant using an automatic telephone dialing system or an artificial or
 8   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 9   claims that are typical of The ATDS Class.
10         29.    Plaintiff and members of The DNC Class were harmed by the acts of
11   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
12   and DNC Class members via their telephones for solicitation purposes, thereby
13   invading the privacy of said Plaintiff and the DNC Class members whose telephone
14   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
15   members were damaged thereby.
16         30.    Common questions of fact and law exist as to all members of The
17   DNC Class which predominate over any questions affecting only individual
18   members of The DNC Class. These common legal and factual questions, which do
19   not vary between DNC Class members, and which may be determined without
20   reference to the individual circumstances of any DNC Class members, include, but
21   are not limited to, the following:
22                a.     Whether, within the four years prior to the filing of this
23                       Complaint, Defendant or its agents placed more than one
24                       solicitation call to the members of the DNC Class whose
25                       telephone numbers were on the National Do-Not-Call Registry
26                       and who had not granted prior express consent to Defendant and
27                       did not have an established business relationship with
28                       Defendant;


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 1                b.    Whether Defendant obtained prior express written consent to
 2                      place solicitation calls to Plaintiff or the DNC Class members’
 3                      telephones;
 4                c.    Whether Plaintiff and the DNC Class member were damaged
 5                      thereby, and the extent of damages for such violation; and
 6                d.    Whether Defendant and its agents should be enjoined from
 7                      engaging in such conduct in the future.
 8         31.    As a person that received numerous solicitation calls from Defendant
 9   within a 12-month period, who had not granted Defendant prior express consent
10   and did not have an established business relationship with Defendant, Plaintiff is
11   asserting claims that are typical of the DNC Class.
12         32.    Plaintiff will fairly and adequately protect the interests of the members
13   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
14   class actions.
15         33.    A class action is superior to other available methods of fair and
16   efficient adjudication of this controversy, since individual litigation of the claims
17   of all Classes members is impracticable. Even if every Classes member could
18   afford individual litigation, the court system could not. It would be unduly
19   burdensome to the courts in which individual litigation of numerous issues would
20   proceed. Individualized litigation would also present the potential for varying,
21   inconsistent, or contradictory judgments and would magnify the delay and expense
22   to all parties and to the court system resulting from multiple trials of the same
23   complex factual issues. By contrast, the conduct of this action as a class action
24   presents fewer management difficulties, conserves the resources of the parties and
25   of the court system, and protects the rights of each Classes member.
26         34.    The prosecution of separate actions by individual Classes members
27   would create a risk of adjudications with respect to them that would, as a practical
28   matter, be dispositive of the interests of the other Classes members not parties to


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 1   such adjudications or that would substantially impair or impede the ability of such
 2   non-party Class members to protect their interests.
 3         35.    Defendant has acted or refused to act in respects generally applicable
 4   to The Classes, thereby making appropriate final and injunctive relief with regard
 5   to the members of the Classes as a whole.
 6                             FIRST CAUSE OF ACTION
 7          Negligent Violations of the Telephone Consumer Protection Act
 8                                   47 U.S.C. §227(b).
 9                             On Behalf of the ATDS Class
10         36.    Plaintiff repeats and incorporates by reference into this cause of action
11   the allegations set forth above at Paragraphs 1-35.
12         37.    The foregoing acts and omissions of Defendant constitute numerous
13   and multiple negligent violations of the TCPA, including but not limited to each
14   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
15   47 U.S.C. § 227 (b)(1)(A).
16         38.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
17   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
18   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
19         39.    Plaintiff and the ATDS Class members are also entitled to and seek
20   injunctive relief prohibiting such conduct in the future.
21                           SECOND CAUSE OF ACTION
22    Knowing and/or Willful Violations of the Telephone Consumer Protection
23                                           Act
24                                   47 U.S.C. §227(b)
25                             On Behalf of the ATDS Class
26         40.    Plaintiff repeats and incorporates by reference into this cause of action
27   the allegations set forth above at Paragraphs 1-35.
28         41.    The foregoing acts and omissions of Defendant constitute numerous


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 1    and multiple knowing and/or willful violations of the TCPA, including but not
 2    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 3    and in particular 47 U.S.C. § 227 (b)(1)(A).
 4          42.    As a result of Defendant’s knowing and/or willful violations of 47
 5    U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
 6    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 7    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 8          43.    Plaintiff and the Class members are also entitled to and seek injunctive
 9    relief prohibiting such conduct in the future.
10                              THIRD CAUSE OF ACTION
11           Negligent Violations of the Telephone Consumer Protection Act
12                                    47 U.S.C. §227(c)
13                               On Behalf of the DNC Class
14          44.    Plaintiff repeats and incorporates by reference into this cause of action
15    the allegations set forth above at Paragraphs 1-35.
16          45.    The foregoing acts and omissions of Defendant constitute numerous
17    and multiple negligent violations of the TCPA, including but not limited to each
18    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
19    47 U.S.C. § 227 (c)(5).
20          46.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
21    Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
22    damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
23          47.    Plaintiff and the DNC Class members are also entitled to and seek
24    injunctive relief prohibiting such conduct in the future.
25                              FOURTH CAUSE OF ACTION
26     Knowing and/or Willful Violations of the Telephone Consumer Protection
27                                            Act
28                                  47 U.S.C. §227 et seq.


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 1                                    On Behalf of the DNC Class
 2          48.      Plaintiff repeats and incorporates by reference into this cause of action
 3    the allegations set forth above at Paragraphs 1-35.
 4          49.      The foregoing acts and omissions of Defendant constitute numerous
 5    and multiple knowing and/or willful violations of the TCPA, including but not
 6    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
 7    in particular 47 U.S.C. § 227 (c)(5).
 8          50.      As a result of Defendant’s knowing and/or willful violations of 47
 9    U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
10    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
11    § 227(c)(5).
12          51.      Plaintiff and the DNC Class members are also entitled to and seek
13    injunctive relief prohibiting such conduct in the future.
14                                     PRAYER FOR RELIEF
15     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
16                                FIRST CAUSE OF ACTION
17           Negligent Violations of the Telephone Consumer Protection Act
18                                        47 U.S.C. §227(b)
19                 As a result of Defendant’s negligent violations of 47 U.S.C.
20                   §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
21                   request $500 in statutory damages, for each and every violation,
22                   pursuant to 47 U.S.C. 227(b)(3)(B).
23                 An order for injunctive relief prohibiting such conduct by Defendants
24                   in the future.
25                 Any and all other relief that the Court deems just and proper.
26    ///
27    ///
28    ///


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 1                           SECOND CAUSE OF ACTION
 2     Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                          Act
 4                                    47 U.S.C. §227(b)
 5               As a result of Defendant’s willful and/or knowing violations of 47
 6                U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
 7                entitled to and request treble damages, as provided by statute, up to
 8                $1,500, for each and every violation, pursuant to 47 U.S.C.
 9                §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
10               An order for injunctive relief prohibiting such conduct by Defendants
11                in the future.
12               Any and all other relief that the Court deems just and proper.
13                            THIRD CAUSE OF ACTION
14          Negligent Violations of the Telephone Consumer Protection Act
15                                    47 U.S.C. §227(c)
16               As a result of Defendant’s negligent violations of 47 U.S.C.
17                §227(c)(5), Plaintiff and the DNC Class members are entitled to and
18                request $500 in statutory damages, for each and every violation,
19                pursuant to 47 U.S.C. 227(c)(5).
20               An order for injunctive relief prohibiting such conduct by Defendants
21                in the future.
22               Any and all other relief that the Court deems just and proper.
23                           FOURTH CAUSE OF ACTION
24     Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                          Act
26                                    47 U.S.C. §227(c)
27               As a result of Defendant’s willful and/or knowing violations of 47
28                U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled


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 1                 to and request treble damages, as provided by statute, up to $1,500,
 2                 for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
 3                 An order for injunctive relief prohibiting such conduct by Defendants
 4                 in the future.
 5                 Any and all other relief that the Court deems just and proper.
 6          52.    Pursuant to the Seventh Amendment to the Constitution of the United
 7    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 8
 9
10          Respectfully Submitted this 30th Day of August, 2018.
11                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
12
                                         By: /s/ Todd M. Friedman
13                                           Todd M. Friedman
14
                                             Law Offices of Todd M. Friedman
                                             Attorney for Plaintiff
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